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                               EXHIBIT P
            Case 3:22-cv-00049-NKM-JCH Document 403-16 Filed 05/15/24 Page 2 of 3 Pageid#:
         McGuireWoods LLP                      5234
888 16th Street N.W., Suite 500
        Washington, DC 20006
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         Michael L. Francisco
          Direct: 202 857 1722                                                                                                                               mfrancisco@mcguirewoods.com




                                  November 17, 2023

                                  BY EMAIL
                                  Maya Eckstein
                                  Hunton Andrews Kurth LLP
                                  951 E. Byrd St.
                                  Richmond, Virginia 23219
                                  meckstein@huntonak.com

                                  Re: Objections to Requests for Production Doe v. Mast, No. 3:22-cv-49-
                                  NKM (W.D. Va.)

                                  Dear Ms. Eckstein:

                                  As you know, we represent Joshua and Stephanie Mast in this matter. We write
                                  in response to your email on Wednesday November 16 regarding discovery in
                                  this matter.

                                  First, by separate letter sent today, we have identified the RFPs that we object
                                  to as being overly broad and requestion clarification in advance of production
                                  of documents.

                                  Second, you claimed that we have not responded to your question about Joshua
                                  Masts’ signal account and certain settings for deletion of messages. It is not
                                  correct to claim that we have not “answered” your question about this point.
                                  We previously have indicated, and continue to indicate, we are well aware of
                                  the legal discovery obligations on our client and we are in compliance with all
                                  applicable obligations. If and when you depose Mr. Mast in this matter, you
                                  can ask him specific questions.

                                  Your letter also reiterated the timing of document production previously
                                  discussed on November 16. We have no material updates at this time. We are
                                  diligently working to produce documents on the previously indicated
                                  timeframe.

                                  Third, you state that you would like to confer on “these issues” next week.
                                  Nothing in your email, however, identifies a deficiency or potential motion
                                  that requires conferral. We presume that your stated intention during the
                                  October 11 hearing to produce documents on a “rolling” “30-60” day basis
                                  will be treated as an acceptable process for all parties to follow. Nonetheless,


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          this letter addresses points in your letter and should allay any concerns you
          have with the discovery process. Of course, we remain ready and able as
          needed to confer about any identified discovery deficiencies when those are
          identified.



                                           Respectfully,

                                           /s/ Michael L. Francisco
                                           John S. Moran
                                           Michael L. Francisco (pro hac vice)
                                           MCGUIREWOODS LLP
                                           888 16th St. N.W., Suite 500
                                           Black Lives Matter Plaza
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                                           Counsel for Defendants Joshua and Stephanie Mast

             CC: Counsel of record
